1844 Ror. MGI) LSP Rey ABBE. RAR Documet Se Ene rer OT EL SD Docket 07/17/2023 Page 1 of 1

The JS 44 civil cover sheet and the information contained herein neither aa nor supplement the filing and service of pleetings or other papers as aie by law, except as provide:
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of mnitiatin;
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a) PLAINTIFFS DEFENDANTS
Angela Heath, individually and on behalf of the I Miami-Dade County
(b) County of Residence of First Listed Plaintiff Miami-Dade County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Simmons, Finney & Winfield, LLC, 1961 SW Park Place, Suite 202, Pc

(d) Check County Where Action Arose: [J miamipape [] Monrok 1] BROWARD [I PALMBEACH [] MARTIN C1ST.LUCIE DIINDIANRIVER 1 OKEECHOBEE [1 HIGHLANDS

 

 

Il. BASIS OF JURISDICTION = (Place an “x” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff)
(For Diversity Cases Only) and One Box for Defendant)
O 1. U.S. Government m3 Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Ol Citizen of This State ol 1 1 Incorporated or Principal Place O4 O4
of Business In This State
O 2. U.S. Government O4 Diversity O_ Citizen of Another State O 2 O 2. Incorporated and Principal Place O5 O5
Defendant (Indicate Citizenship of Parties in Item I) of Business In Another State
Citizen or Subject of a . :
Foreign Country O 3 O 3 Foreign Nation O06 O86
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
0 110 Insurance PERSONAL INJURY PERSONAL INJURY JC 625 Drug Related Seizure C] 422 Appeal 28 USC 158 1 375 False Claims Act
0 120 Marine 0 310 Airplane O 365 Personal Injury - of Property 21 USC 881 O 423 Withdrawal 0 376 Qui Tam (31 USC 3729(a)
0 130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC 157 400 State Reapportionment
0 140 Negotiable Instrument Liability O 367 Health Care/ / O 410 Antitrust
CJ 150 Recovery of Overpayment (1 320 Assault, Libel & Pharmaceutical TE ey RE ORERY O 430 Banks and Banking
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights O 450 Commerce
0 151 Medicare Act 0 330 Federal Employers’ Product Liability O 830 Patent O 460 Deportation
oO 152. Recovery of Defaulted Liabili oO 835 Patent — Abbreviated go 470 Racketeer Influenced
Student Loans ty q 368 Asbestos Personal i New Drug Application and Corrupt Organizations
. Injury Product Liability 840 Trademark 480 Consumer Credit
(Excl. Veterans) 1 340 Marine oO a eee ae Secrets O (15 USC 1681 or 1692)
CJ 153 Recovery of Overpayment (1 345 Marine Product LABOR SOCIAL SECURITY ci 3B Telsenine Gea
of Veteran’s Benefits Liability PERSONAL PROPERTY (1 710 Fair Labor Standards Acts O1 861 HIA (1395ff) O 490 Cable/Sat TV
0 160 Stockholders’ Suits 0 350 Motor Vehicle O 370 Other Fraud O 720 Labor/Mgmt. Relations O 862 Black Lung (923) O 850 Securities/Commodities/
O 190 Other Contract C) 355 Motor Vehicle O 371 Truth in Lending 0 740 Railway Labor Act O 863 DIWC/DIWW (405(g)) Exchange
0 195 Contract Product Liability Product Liability O 380 Other Personal O 751 Family and Medical O 864 SSID Title XVI O 890 Other Statutory Actions
0 196 Franchise O 360 Other Personal Property Damage Leave Act O 865 RSI (405(g)) O 891 Agricultural Acts
Injury 1 385 Property Damage O 790 Other Labor Litigation O 893 Environmental Matters
C 362 Personal Injury - Product Liability 0 791 Employee Retirement 1 895 Freedom of Information Ac
Med. Malpractice Income Security Act O 896 Arbitration
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS FEDERAL TAX SU ITS O 399 Administrative Procedure
O 210 Land Condemnation i 440 Other Civil Rights Habeas Corpus: a Daten me. - Plaintiit’ or Raseey Docks oe of
1 220 Foreclosure C441 Voting Oo = Seve Oo se a Party 26USC 4 oo of
5 otions to Vacate
O 230 Rent Lease & Ejectment O e employment DO Sentence
3 Housin;
O 240 Torts to Land OT ek coomine aati otis O 530 General
1 245 Tort Product Liability OO 445 Amer. w/Disabilities- [1 535 Death Penalty IMMIGRATION
O 290 All Other Real Property Employment Other: UO 462 Naturalization Application
(446 Amer. w/Disabilities- [1 540 Mandamus & Other [) 465 Other Immigration
Other O1 550 Civil Rights Actions
0 448 Education 1 555 Prison Condition
560 Civil Detainee —
O Conditions of
Confinement
V. ORIGIN (Place an “‘X” in One Box Only) ol
iat - 4 i Transferred from 6 Multidistrict oo. .
sl Proceeding Oo? Removed oO 3 ee ie Oo Refistited O > gnother district Litigation C1 7 Appeal to O1 8 Mattidistrict [19 Remanded from
Court below) Reopened (specify) Transfer District Judge Litigation Appellate Court
from Magistrate —_ Direct
Judgment File
VI. RELATED/ (See instructions): a) Re-filed Case LIYES LINO b) Related Cases LIYES ONO
RE-FILED CASE(S) JUDGE: DOCKET NUMBER:

 

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VIL. CAUSE OF ACTION 42 U.S.C. Section 1983

LENGTH OF TRIAL vialQ __days estimated (for both sides to try entire case)
VIM, BEQUESTED'IN O] CHECK IF THIS ISA CLASS ACTION =p waNp $5,000,000.00 CHECK YES only if demanded in complaint:

COMPLAINT: UNDER F.R.C.P. 23
JURY DEMAND: & Yes O No

ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE SIGNA’ TTORNEY OF RECORD

7-17-23 a ao eS Linnes Finney, Jr., Esq.

FOR OFFICE USE ONLY : RECEIPT # AMOUNT IY peer) MAG JUDGE
